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12
                            UNITED STATES DISTRICT COURT
13
                         NORTHERN DISTRICT OF CALIFORNIA
14
15 TWITTER, INC.                                     Case No. 3:21-CV-01644
16
                     Plaintiff,
17
18 v.                                                BRIEF OF THE REPORTERS
                                                     COMMITTEE FOR FREEDOM OF
19 KEN PAXTON,                                       THE PRESS, CENTER FOR
20 in his official capacity as Attorney              DEMOCRACY AND
     General of Texas,                               TECHNOLOGY, ELECTRONIC
21                                                   FRONTIER FOUNDATION, MEDIA
22                   Defendant.                      LAW RESOURCE CENTER, INC.,
                                                     AND PEN AMERICA AS AMICI
23                                                   CURIAE IN SUPPORT OF
24                                                   PLAINTIFF
25
26
                                                     Judge: Maxine Chesney
27
28

                                                 i
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 1                         INTEREST OF THE AMICI CURIAE
 2
           The Reporters Committee for Freedom of the Press (the “Reporters
 3
 4 Committee”) is an unincorporated non-profit association. The Reporters Committee
 5 was founded by leading journalists and media lawyers in 1970 when the nation’s
 6
     news media faced an unprecedented wave of government subpoenas forcing reporters
 7
 8 to name confidential sources. Today, its attorneys provide pro bono legal
 9 representation, amicus curiae support, and other legal resources to protect First
10
     Amendment freedoms and the newsgathering rights of journalists.
11

12         Center for Democracy & Technology (“CDT”) is a non-profit public interest

13 organization. For more than 25 years, CDT has represented the public’s interest in an
14
     open, decentralized internet and worked to ensure that the constitutional and
15
16 democratic values of free expression and privacy are protected in the digital age.
17 CDT regularly advocates in support of the First Amendment and protections for
18
     online speech before legislatures, regulatory agencies, and courts.
19

20         The Electronic Frontier Foundation (“EFF”) is a non-profit, member-supported
21 civil liberties organization working to protect digital rights. Founded in 1990 and
22
     based in San Francisco, California, EFF has more than 37,000 active donors and
23
24 dues-paying members. EFF represents the interests of technology users in both court
25 cases and broader policy debates surrounding the application of law in the digital age.
26
27
28                                              1
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 1         The Media Law Resource Center, Inc. (“MLRC”) is a non-profit professional
 2
     association for content providers in all media, and for their defense lawyers,
 3
 4 providing a wide range of resources on media and content law, as well as policy

 5 issues. These include news and analysis of legal, legislative and regulatory
 6
     developments; litigation resources and practice guides; and national and international
 7
 8 media law conferences and meetings. The MLRC also works with its membership to
 9 respond to legislative and policy proposals, and speaks to the press and public on
10
     media law and First Amendment issues. It counts as members over 125 media
11
12 companies, including newspaper, magazine and book publishers, TV and radio
13 broadcasters, and digital platforms, and over 200 law firms working in the media law
14
     field. The MLRC was founded in 1980 by leading American publishers and
15
16 broadcasters to assist in defending and protecting free press rights under the First

17 Amendment.
18
           PEN American Center, Inc. (PEN America or PEN) is a nonprofit organization
19
20 that represents and advocates for the freedom to write and freedom of expression,
21 both in the United States and abroad. PEN America is affiliated with more than 100
22
     centers worldwide that comprise the PEN International network. Its Membership
23
24 includes more than 7,500 journalists, novelists, poets, essayists, and other
25 professionals. PEN America stands at the intersection of journalism, literature, and
26
     human rights to protect free expression. PEN champions the freedom of people
27
28 everywhere to write, create literature, convey information and ideas, and express their
                                               2
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 1 views, recognizing the power of the word to transform the world. PEN America
 2
     supports the First Amendment and freedom of expression in the United States.
 3
 4         Amici collectively represent the First Amendment interests of media outlets

 5 and communications platforms across all technologies. Amici file this brief because
 6
     they are concerned about the implications of Defendant Paxton’s actions not just for a
 7
 8 single social media site but for the fundamental First Amendment principles that
 9 animate public debate across all media.
10
                                SUMMARY OF ARGUMENT
11
12         Any government effort to enforce what it deems viewpoint neutrality on a

13 communications platform carries the temptation to compel platforms to carry speech
14
     perceived as favorable to the government, or, at the very least, that speech platforms
15
16 would not otherwise carry. As such, these efforts pose a profound threat to First

17 Amendment guarantees, including a free and unfettered press. Amici the Reporters
18
     Committee and MLRC take no position on Twitter’s content moderation policies or
19
20 practices; other Amici have expressed an array of views on the public policy
21 implications of Twitter’s decision to block President Donald Trump’s access to the
22
     platform. Amici are, however, united in their position that the choice to curate
23
24 content in this way is fully protected by the First Amendment. Here, Texas Attorney
25 General Ken Paxton explicitly cited Twitter’s and other platforms’ decisions to label
26
     or block political content as the basis for initiating an investigation under Texas’s
27
28 Deceptive Trade Practices-Consumer Protection Act (“DTPA”), and the Office of the
                                          3
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 1 Attorney General in Texas has previously expressed support for using deceptive
 2
     practices laws to police perceived viewpoint discrimination by online platforms.
 3
 4         Accordingly, Amici write to address the following two points in support of

 5 Plaintiff.
 6
           First, government efforts to use deceptive practices laws, or other similar
 7
 8 regulatory schemes, to investigate perceived “bias” in content moderation would
 9 contravene the rule articulated by the Supreme Court in Miami Herald Publishing Co.
10
     v. Tornillo—that “governmental regulation” of “editorial control and judgment”
11
12 cannot be “exercised consistent with First Amendment guarantees of a free press.”
13 418 U.S. 241, 258 (1974); see also Bullfrog Films, Inc. v. Wick, 847 F.2d 502, 510
14
     (9th Cir. 1988) (“The danger inherent in government editorial oversight, even in the
15
                                                 1
16 interest of ‘balance,’ is well established.”). Under Tornillo, it would be improper for

17 the government, regardless of motive, to mandate that a private editor “publish that
18
     which reason tells [it] should not be published.” 418 U.S. at 256 (internal quotation
19
20 marks omitted). In its investigation, however, the Office of the Attorney General
21 claims the authority to intervene in political content curation online, in the name of
22
     holding platforms to assertions of impartiality or neutrality in that curation. If
23
24
   1
           Plaintiff’s Complaint and Motion are based on a claim of First Amendment retaliation.
25 Amici write to emphasize that Twitter’s content moderation decisions are protected by the First
26 Amendment and to highlight their concern that even non-retaliatory government inquiries into a
   private entity’s curation of lawful content—particularly with respect to political speech—raise
27 profound First Amendment concerns. Cf. Snyder v. Phelps, 562 U.S. 443, 452 (2011) (“[S]peech on
   public issues occupies the highest rung of the hierarchy of First Amendment values, and is entitled
28 to special protection.” (quoting Connick v. Myers, 461 U.S. 138, 145 (1983))).
                                                      4
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 1 allowed to proceed, this inquiry could therefore have the effect of undermining the
 2
     protections for public discourse established in Tornillo. Cf. Columbia Broad. Sys.,
 3
 4 Inc. v. Democratic Nat’l Comm., 412 U.S. 94, 144–45 (1973) (Stewart, J.,

 5 concurring) (noting concern that requiring broadcast licensees to carry paid editorial
 6
     advertising could erode editorial autonomy of print media). Further, and cognizant of
 7
 8 the importance of the Tornillo rule to the free flow of information to the public,
 9 courts have extended that rule to online communications platforms such as search
10
     engines and social media. See, e.g., Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d
11
12 433, 443 (S.D.N.Y. 2014) (“In short, Plaintiffs’ efforts to hold [search engine] Baidu
13 accountable in a court of law for its editorial judgments about what political ideas to
14
     promote cannot be squared with the First Amendment.”).
15
16         Second, the constitutional right at issue here—the discretion of a private entity

17 to disseminate or not disseminate lawful content without government intervention—is
18
     particularly vulnerable to regulatory interference, even in service of what would
19
20 otherwise be an appropriate exercise of governmental regulatory authority. Further,
21 deceptive practices laws pose special concerns when they trench on decisions by
22
     private actors to control political content on their platforms, especially when the
23
24 government claims the authority to impose a standard of viewpoint neutrality—as it
25 sees it—under the guise of consumer protection. Were the government able to deploy
26
     consumer protection laws in this way, it would invariably seek to favor viewpoints
27
28 perceived as supportive and disfavor viewpoints perceived as critical.
                                            5
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 1          For these reasons, Amici urge the Court to grant Plaintiff’s Motion.
 2
 3
 4                                          DISCUSSION

 5 I.       The Tornillo rule is a crucial protection for the free flow of information.
 6
            Private curation of lawful content online—especially content related to public
 7
 8 affairs and government officials—is an inextricable component of modern public
 9 discourse.2 Such private curation necessarily entails making decisions about what
10
     material is allowed or disallowed on a platform. In 1974, the Supreme Court
11
12 unanimously affirmed that the First Amendment forbids governmental interference in
13 editorial decisions by the press when it held unconstitutional Florida’s “right of
14
     reply” statute, which “grant[ed] a political candidate a right to equal space to reply to
15
16 criticism and attacks on his record by a newspaper.” Tornillo, 418 U.S. at 243, 258.

17 The Court in Tornillo made clear that government regulation of the “choice of
18
     material” to include in a newspaper cannot be “exercised consistent with First
19
20 Amendment guarantees.” Id. at 258. This conclusion applies when such decisions
21 deal with the “treatment of public issues and public officials—whether fair or unfair.”
22
     Id. Indeed, press autonomy in decisions “about what and what not to publish” has
23
24 been described as “absolute.” See Lucas A. Powe, Jr., The Fourth Estate and the
25 Constitution 277 (1992) (“Because editorial autonomy is indivisible, it must be
26
     2
27         Amici submit that the express object of the Attorney General’s Office’s investigation—the
   labeling and blocking of third-party political speech—receives direct protection under the First
28 Amendment. Amici therefore do not address the application of 47 U.S.C. § 230 in this brief.
                                                      6
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 1 absolute.”); see also Tornillo, 418 U.S. at 259 (White, J., concurring) (“According to
 2
     our accepted jurisprudence, the First Amendment erects a virtually insurmountable
 3
 4 barrier between government and the print media so far as government tampering, in

 5 advance of publication, with news and editorial content is concerned.” (citing N.Y.
 6
     Times Co. v. United States, 403 U.S. 713 (1971))). Notably, the unanimous Tornillo
 7
 8 decision came at the height of fallout from Watergate and shortly after a request by
 9 President Richard Nixon that the Justice Department explore the need for a federal
10
     right of reply statute. Anthony Lewis, Nixon and a Right of Reply, N.Y. Times, Mar.
11
12 24, 1974, at E2, https://perma.cc/2W2J-AJ65 (“Overhanging the debate is the reality
13 of Watergate, where a vigorous press broke through repeated official White House
14
     denials of wrongdoing.”).
15
16         Chief Justice Burger’s opinion for the Court in Tornillo rested on two

17 inevitable consequences of permitting the government to mandate access to print
18
     media, which would “bring[] about a confrontation with the express provisions of the
19
20 First Amendment and the judicial gloss on that Amendment developed over the
21 years.” Tornillo, 418 U.S. at 254. First, the specter of a “government [fairness]
22
     umpire,” Powe, supra at 283, would chill public discourse by prompting the news
23
24 media to “conclude that the safe course is to avoid controversy,” Tornillo, 418 U.S. at
25 257. Second, an enforceable right of access poses the threat of direct press
26
     censorship:
27
28
                                                7
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 1          “[L]iberty of the press is in peril as soon as the government tries to
 2
            compel what is to go into a newspaper. A journal does not merely print
            observed facts the way a cow is photographed through a plateglass
 3          window. As soon as the facts are set in their context, you have
 4          interpretation and you have selection, and editorial selection opens the
            way to editorial suppression. Then how can the state force abstention
 5          from discrimination in the news without dictating selection?”
 6
     Id. at 258 n.24 (quoting Zechariah Chafee, Government and Mass Communications
 7
 8 633 (1947)).
 9          While the Tornillo Court confronted these issues in the context of print media,
10
     the Supreme Court has since extended full First Amendment protection to the internet
11
12 as a communications medium. Reno v. ACLU, 521 U.S. 844, 870 (1997); see also
13 Packingham v. North Carolina, 137 S. Ct. 1730, 1735–36 (2017) (holding
14
     unconstitutional a governmental ban on access to social media, and finding that
15
16 “social media users employ these websites to engage in a wide array of protected

17 First Amendment activity”). The Court has also recognized the application of
18
     Tornillo “well beyond the newspaper context.” Jian Zhang, 10 F. Supp. 3d at 437.
19
20 For example, the Court extended First Amendment protection to cable programmer
21 and operator decisions about “which stations or programs to include in its repertoire”
22
     in Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 636 (1994) (citation
23
            3
24 omitted). And, as the Court has since explained, “a private speaker does not forfeit
25
26   3
           While the Court in Turner applied intermediate, rather than strict, scrutiny to the specific
27 regulations at issue there, central to the Court’s reasoning was the fact the regulations did not
   discriminate based on content. See Turner, 512 U.S. at 644. By contrast, efforts to impose what the
28 government perceives as viewpoint neutrality on a private communications platform are,
                                                        8
                 AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFF (Case No. 3:21-CV-01644)
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 1 constitutional protection simply by combining multifarious voices, or by failing to
 2
     edit their themes to isolate an exact message as the exclusive subject matter of the
 3
 4 speech.” Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557,

 5 569–70 (1995).
 6
            Applying those principles, courts have held that online platform decisions
 7
 8 about what lawful content to host on their sites receive First Amendment protection.
 9 See Jian Zhang, 10 F. Supp. 3d at 438 (applying protection to search engine
10
     judgments about “what information (or kinds of information) to include in the results
11
12 and how and where to display that information”); e-ventures Worldwide, LLC v.
13 Google, Inc., No. 2:14-cv-646, 2017 WL 2210029, at *4 (M.D. Fla. Feb. 8, 2017)
14
     (same, “no matter the motive”); Search King, Inc. v. Google Tech., Inc., No. CIV-02-
15
16 1457, 2003 WL 21464568, at *2–4 (W.D. Okla. May 27, 2003) (search rankings are

17 protected opinion). Further, these protections apply equally to decisions to remove or
18
     exclude content. See, e.g., La’Tiejira v. Facebook, Inc., 272 F. Supp. 3d 981, 991
19
20 (S.D. Tex. 2017) (finding Facebook could decide whether to take down or leave up a
21 post because of “Facebook’s First Amendment right to decide what to publish and
22
     what not to publish on its platform”); Langdon v. Google, Inc., 474 F. Supp. 2d 622,
23
24
25 necessarily, viewpoint discrimination by the government. See Jian Zhang, 10 F. Supp. 3d at 440
26 (distinguishing Turner because plaintiffs sought to punish platform for “conscious decision to . . .
   favor certain expression on core political subjects over other expression on those same political
27 subjects”). Since Turner, the Supreme Court has also made clear that viewpoint-neutral but
   content-based regulations are subject to strict scrutiny. See Reed v. Town of Gilbert, 576 U.S. 155,
28 168–69 (2015).
                                                       9
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 1 629–30 (D. Del. 2007) (finding First Amendment right extends to decisions to
 2
     exclude content from search platform). Crucially, these protections apply irrespective
 3
 4 of the government’s intention in seeking to intervene in these decisions. See Jian

 5 Zhang, 10 F. Supp. 3d at 438 (“Put simply, ‘[d]isapproval of a private speaker’s
 6
     statement’—no matter how justified disapproval may be—‘does not legitimize use of
 7
 8 the [government’s] power to compel the speaker to alter the message by including
 9 one more acceptable to others.’” (quoting Hurley, 515 U.S. at 581)).
10
           The animating concern in Tornillo—that the power to compel or silence speech
11
12 on a communications medium would allow the government to improperly skew
13 public discussion of its policies through chill or direct suppression—applies when the
14
     government seeks to dictate how private entities moderate lawful content online.
15
16 Government intrusion into such decisions “dampens the vigor and limits the variety

17 of public debate.” Tornillo, 418 U.S. at 257 (quoting N.Y. Times Co. v. Sullivan, 376
18
     U.S. 254, 279 (1964)). As much of that public debate has moved to the internet, the
19
20 application of federal and state regulatory regimes like tax, and, as here, consumer
21 protection laws must be appropriately calibrated to preserve the “breathing space” it
22
     needs to survive. Sullivan, 376 U.S. at 272 (quoting N.A.A.C.P. v. Button, 371 U.S.
23
24 415, 433 (1963)). Indeed, a key rationale behind the preservation of “breathing
25 space” for public discourse is to ensure that private platforms that carry third-party
26
     speech are not discouraged from doing so. Cf. id. at 266 (recognizing that the threat
27
28 of civil liability for the choice to print lawful content in editorial print advertisements
                                                 10
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 1 could “shut off an important outlet for the promulgation of information and ideas by
 2
     persons who do not themselves have access to publishing facilities—who wish to
 3
 4 exercise their freedom of speech even though they are not members of the press”).

 5         In short, if a major purpose of the First Amendment is to allow public
 6
     discourse to “serve as a powerful antidote to any abuses of power” and as a way for
 7
 8 “keeping officials elected by the people responsible to all the people whom they were
 9 selected to serve,” Tornillo, 418 U.S. at 260 (White, J., concurring) (citation omitted),
10
     the First Amendment must protect how private actors—especially, but not
11
12 exclusively, the press—choose to relay the speech of the public regarding those
13 elected officials, as well as the speech of the elected officials themselves.
14
     II.   The DTPA poses a significant risk of censorship if used to investigate or
15         enforce the government’s conception of viewpoint neutrality online.
16
           Although Amici do not dispute that the regulation of deceptive commercial
17
18 practices serves a legitimate and important government purpose, amici do however

19 contest the specific use of consumer protection laws to hold speakers to claims of
20
     politically impartial curation. The Supreme Court has emphasized that the
21
22 permissible regulation of false or misleading commercial speech flows from certain
23 attributes of that speech, including, for instance, that “truth of commercial speech . . .
24
     may be more easily verifiable,” and that such speech displays “greater objectivity and
25
26 hardiness.” Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council, Inc., 425
27 U.S. 748, 771 n.24 (1976); cf. id. at 777 (Stewart, J., concurring) (“[The press] must
28
                                                11
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 1 often attempt to assemble the true facts from sketchy and sometimes conflicting
 2
     sources under the pressure of publication deadlines, [while] the commercial
 3
 4 advertiser generally knows the product or service he seeks to sell and is in a position

 5 to verify the accuracy of his factual representations . . . .”).
 6
           Here, the Office of the Attorney General of Texas has explicitly stated that the
 7
 8 focus of its investigation is whether online platforms have exercised bias in curating
 9 lawful speech. It launched the investigation a week after several technology
10
     companies, including Twitter, blocked President Trump’s access to their platforms,
11
12 and specifically pointed to those actions in its news release announcing the issuance
13 of the civil investigative demand Twitter challenges. See News Release, AG Paxton
14
     Issues Civil Investigative Demands to Five Leading Tech Companies Regarding
15
16 Discriminatory and Biased Policies and Practices (Jan. 13, 2021), https://perma.cc/

17 YWJ2-3DFQ (“[J]ust last week, this discriminatory action [by “Big Tech
18
     companies”] included the unprecedented step of removing and blocking President
19
20 Donald Trump from online media platforms.”). Further, Texas First Assistant
21 Attorney General Jeff Mateer has, in the recent past, expressly claimed the authority
22
     to regulate under the DTPA what he terms “bias”—by which he meant political
23
24 bias—in “big tech.” See News Release, First Assistant AG Jeff Mateer to FTC: Big
25 Tech Companies Must Comply with State Deceptive Trade Practices Law (June 12,
26
     2019), https://perma.cc/D83P-QF68 (“If big tech companies are not living up to their
27
28 commitments and representations regarding being open to all political viewpoints and
                                           12
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 1 free of bias and restrictions on the basis of policy preference, then they should be held
 2
     accountable for their false, misleading and deceptive trade practices.”). And the
 3
 4 Twitter civil investigative demand itself states that it is “relevant to the subject matter

 5 of an investigation of possible violations of . . . the DTPA in Twitter’s representations
 6
     and practices regarding what can be posted on its platform.” Office of the Att’y Gen.,
 7
 8 Consumer Prot. Div., Civil Investigative Demand (Jan. 13, 2021), https://perma.cc/
 9 4FNL-Z47B.
10
           But “bias” in content curation will necessarily be in the eye of the beholder,
11
12 and claims of “impartiality” in online moderation practices are not subject to
13 objective verification by government enforcers or courts in the same way as truly
14
     false or misleading commercial speech about a used car or a health tonic. Then-Chair
15
16 of the Federal Trade Commission, Joe Simons, effectively said as much in testimony

17 before the Senate Commerce Committee in August 2020, in response to questions
18
     regarding President Trump’s executive order directing the FTC to consider whether
19
20 “bias” online constituted an unfair or deceptive trade practice subject to regulation
21 under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45. See Exec.
22
     Order No. 13,925, 85 Fed. Reg. 34,079 (May 28, 2020). “Our authority focuses on
23
24 commercial speech, not political content curation,” Simons said. “If we see
25 complaints that are not within our jurisdiction, then we don’t do anything.” See Leah
26
     Nylen et al., Trump Pressures Head of Consumer Agency to Bend on Social Media
27
28 Crackdown, Politico (Aug. 21, 2020), https://perma.cc/7FLH-WDYP.
                                            13
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 1         The U.S. Court of Appeals for the Ninth Circuit recently addressed a related
 2
     question—whether a platform’s representations regarding openness are sufficiently
 3
 4 factual and verifiable to state a false advertising claim under the Lanham Act. In

 5 Prager University v. Google LLC, the Ninth Circuit held that “braggadocio about [a
 6
     platform’s] commitment to free speech” is “classic, non-actionable opinion[] or
 7
 8 puffery,” and therefore cannot support a claim under 15 U.S.C. § 1125. See 951 F.3d
 9 991, 999–1000 (9th Cir. 2020); see also Autohaus, Inc. v. Aguilar, 794 S.W.2d 459,
10
     462 (Tex. App. 1990) (noting puffery or opinion non-actionable under the DTPA).
11
12 Such statements do not constitute “commercial advertising or promotion,” the court
13 held, but were made to “explain a user tool.” Prager Univ., 951 F.3d at 999–1000.
14
     Plaintiff in that case did not allege any facts to “overcome the commonsense
15
16 conclusion” that statements related to Defendant YouTube’s content moderation

17 policies are not “advertisements or a promotional campaign.” Id. at 1000; see also
18
     Murphy v. Twitter, Inc., 274 Cal. Rptr. 3d 360, 382 (Cal. Ct. App. 2021) (“No
19
20 reasonable person could rely on proclamations that ‘[w]e believe in free expression
21 and think every voice has the power to impact the world,’ that Twitter was the ‘free
22
     speech wing of the free speech party,’ or that Twitter’s mission ‘is to give everyone
23
24 the power to create and share ideas and information instantly without barriers,’ as a
25 promise that Twitter would not take any action to self-regulate content on its
26
     platform.”).
27
28
                                                14
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 1         It is well-settled that even non-retaliatory regulatory efforts such as selective
 2
     taxation can violate the First Amendment if they burden the free flow of information
 3
 4 to the public. See Ark. Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 228 (1987)

 5 (finding that discriminatory taxation against the press or against certain members of
 6
     the press can burden First Amendment rights with “no evidence of an improper
 7
 8 censorial motive”); Minneapolis Star & Tribune Co. v. Minn. Comm’r of Revenue,
 9 460 U.S. 575, 592 (1983) (“We have long recognized that even regulations aimed at
10
     proper governmental concerns can restrict unduly the exercise of rights protected by
11
12 the First Amendment.”). “This is because selective taxation of the press . . . poses a
13 particular danger of abuse by the State.” Ark. Writers’ Project, 481 U.S. at 228; see
14
     also Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963) (“We are not the first
15
16 court to look through forms to the substance and recognize that informal censorship

17 may sufficiently inhibit the circulation of publications to warrant injunctive relief.”).
18
           That danger is compounded where, as here, the target of such regulation has
19
20 been identified by the regulator for perceived “bias” in political content curation. For
21 public officials, the temptation to suppress criticism of their own or political allies’
22
     actions is strong, and so are the means by which the government may seek to tamp
23
24 down that criticism, including significant civil exposure and, under other state
25 deceptive practices laws, potential criminal liability. While one may disagree with
26
     how online platforms curate lawful content, there can be no role for the government
27
28 in enforcing its conception of political orthodoxy. Cf. Tornillo, 418 U.S. at 256 (“A
                                               15
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 1 responsible press is an undoubtedly desirable goal, but press responsibility is not
 2
     mandated by the Constitution and like many other virtues it cannot be legislated.”).
 3
 4 The DTPA serves laudable goals, but it may not be used to mandate what public

 5 officials conceive to be a standard of truth in the realm of political discourse.
 6
                                        CONCLUSION
 7
 8         For these reasons, Amici urge the Court to grant Plaintiff’s Motion.

 9   Dated: March 24, 2021
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 1                             CERTIFICATE OF SERVICE
 2
          I, Katie Townsend, hereby certify that on March 24, 2021, I served the attached
 3
 4 document via this Court’s CM/ECF system. Notice of this filing will be sent by email

 5 to all parties by operation of the Court’s electronic filing system.
 6
 7
 8 DATED: March 24, 2021
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